   Case: 1:21-cv-00072-DRC Doc #: 13 Filed: 07/26/21 Page: 1 of 2 PAGEID #: 87




                   UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO

                                         )
                                         )
WENDY SCHUCHMANN,                        ) Case No.:
                                         )
             Plaintiff.                  ) 1:21-cv-00072-DRC
                                         )
      v.                                 )
                                         )
SWITCH ENERGY, LLC,                      )
                                         )
                Defendant.               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: July 26, 2021                   By: /s/ Jacob U. Ginsburg
                                         Jacob U. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
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                                         Email: jginsburg@creditlaw.com
   Case: 1:21-cv-00072-DRC Doc #: 13 Filed: 07/26/21 Page: 2 of 2 PAGEID #: 88




                        CERTIFICATE OF SERVICE

            I, Jacob U. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

J. Scott Carr
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404-400-7300
Fax: 404-400-7333
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Attorney for Defendant




Dated: July 26, 2021                 By: /s/ Jacob U. Ginsburg
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